                 Case 4:04-cr-40015-JPG                       Document 406 Filed 09/20/05                              Page 1 of 6         Page ID
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    %A0 2458       (Rev. 12103) Judgment in a Criminal Case
                   Sheet 1


                                              UNITEDSTATES
                                                         DISTRICT
                                                                COURT
                              Southern                                District of                                        ILLINOIS

               UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                   v.
                  WILLIAM E. GOLLIHER, JR.
                                                                            Case Number: 04CR40015-003-JPG

                                                                            USM Number:06278-025
                                                                            Daniel L. Ringwald
                                                                            Defendant's Attorney
THE DEFENDANT:
dpleadedguilty to count(s)               1 of the Fifth Superseding Indictment.

    0pleaded nolo contendere to count@)
         which was accepted by the court.
         was found guilty on count(s)
         after a plea of not guilty.

The defendant i s adjudicated guilty of these offenses:

                                        Nature of ONense                                                               Offense Ended             C'ount
                                                                           . .*G&..,';
Title & Section                                                                                                                                  . . . .
                                        _ I _ ......
                                                                                                       . . . . . ..'
                                                                                                                  .              3     ,: . :           "I.'.
.    .                                                                                                                          L.      . . . ..        . ; I . ..

                                        Methamphetamine



       The defendant is sentenced as provided in pages 2 through                    9       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
         The defendant has been found not guilty on count(s)
    0Count(s)                                                    is      are dismissed on the motion of the United States.

         I t i s ordered that the defcnJant must notif) the i l n i t d States attorney for thi, district uithin 30 dmsofany chnnp ot'name, rcsidcnce,
or mailmg adJress until all fines, restitution. co\ls, and special asscssm:ntr imposcd h\ thisjud~mcntare fully paid. IfordcrcJ to pay restitution,
the defendant mu51 notii) the coun and i:nitcd Swr.s attorney ot material changes in ea~n(m~c                circumstances.




                                                                            J. Phil Gijbert. District Judge
                                                                            Name and    qtk of Judge
               Case 4:04-cr-40015-JPG                     Document 406 Filed 09/20/05                       Page 2 of 6        Page ID
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A 0 245B      Rev. I21031. Judement
                              "     in Criminal Case
              Sheet 2 -Imprisonment
t
DEFENDANT: WILLIAM E. GOLLIHER, JR.
CASE NUMBER: 04CR40015-003-JPG


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term oE
 100 months on Count 1 of the Fifth Superseding indictment




           The court makes the following recommendations to the Bureau of Prisons:

 That the defendant b e placed in the Intensive Drug Treatment Program.



     d The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
           0 at                                        0 a.m.      0 p.m.       on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.

                as notified by the Probation or Pretrial Services Office


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 a                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
              Case 4:04-cr-40015-JPG                   Document 406 Filed 09/20/05                         Page 3 of 6           Page ID
                                                                 #743


A 0 2458     (Rev 12/03) Judgment in a Criminal Case
             Sheet 3 -Supewised Release
                                                                                                          Judgment-Pagage           of          Y
DEFENDANT: WILLIAM E. GOLLIHER, JR.
CASE NUMBER: 04CR40015-003-JPG
                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  4 years on Count 1 of the Fifth Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 'Ihe dciendant shell not unlauiully possess u controlled subslance. 'lhu defendant shall rcirain from an) unlanl'ul use o i a controlled
 subsance. 'I he defendmt shall \uhmit to m e drug
 thereafter, as determined by the court.
                                                   - tesl within 15 da)\ d'relce\e irom imprisonment and at leas1 two perioJic drug lebts
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 13 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of t h ~ judgment.
                                    s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   I)      the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adpinister any
      controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a phys~c~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the pro%atlonofficer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the rohation officer, the defendant shall notify third partiesof risks that may be occasioned by the defendant's criminal
           record or ?ersonaf histow, or characteristics and shall permit the prohat~onofficer to make such not~ficationsand to confirm the
           defendant s compl~ancew ~ t hsuch not~ficat~on  requirement.
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                                                             #744

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A 0- .-   .              -
                    ,Judement in a Criminal Case
          (Rev 12/03>
          Sheet 3C - Supervtaed Release

DEFENDANT: WILLIAM E. GOLLIHER. JR.
CASE NUMBER: 04CR40015-003-JPG

                                       SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the tine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 The defendant shall provide the probation officer and the Financial Litigatoin Unit of the United States Attorney's Office
 with access to any requested financial gains to the outstanding court-ordered financial obligation The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, w hich includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time
 as the defendant is released from the program by the probation officer.

 The defendant shall submit his person, residence, real property, place of business, coomputer, or vehicle to a search,
 conducted by the United States probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.
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A 0 2458    (Rev. 12/03) Judgment in a Criminal Case
            Sheet 5 -Criminal Monetary Penalties
%
 DEFENDANT: WILLIAM E. GOLLIHER. JR.
 CASE NUMBER: 04CR40015-003-JPG
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                                 Restitution
 TOTALS             $ 100.00                                                                                   $ 0.00



     The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                                                                                                     L L .I ~ othenr
      lithe dekndmt makes u panisl pa)msnt, e ~ u hpa c; shall reuei\e an appro\imatel! pro onioncd d)ment, unless sp;.'       I ~ ~ isc in
      the priority order or percentage pqmcnt mlumnkelon. Howwer, pursuant to 18 1 .5.8. 4 36648;. all nonfcdcral \ lctims must be p ~ i d
      hel'orc the 1JnituJ Stales 1s pad.

 Name of Pavec
                                   . ..                                                                         .
                                                                                                 Restitution Ordered                  Prioritv o r Pcrccntaec
                                                                                                                                                         .
                                                                                                                                                     , : ,.
           ..                .
                                                                        ,. . .. . . . . ..
                                                                                        .
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                                                                                                                          t.';'   .   ;
                                                                                                                                               .!
                                                                                                                                               :
                                                                                                                                                             e.
                                                                                                                                                    ... ,.. . :,




 TOTALS                                                       0.00             $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. g 3612(g).

4 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the              fine            restitution.
            the interest requirement for the           fine          restitution is modified as follows:



* Findingsfor the total amountof losses are re uiredunder Chapters 109A, I10,l IOA, and II3A of Title 18 for offenses committedon or after
 September 13, 1994, but before Aprtl23,1998.
            Case 4:04-cr-40015-JPG                   Document 406 Filed 09/20/05                         Page 6 of 6          Page ID
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A 0 245B   (Rw.12103) Judgment in a Criminal Case

                                                                                                        Judgment -Page   1of                 9
 DEFENDANT: WILLIAM E. GOLLIHER, JR.
 CASE NUMBER: 04CR40015-003-JPG

                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @f   Lump sum payment of $                            due immediately, balance due

                 not later than                                 , or
                 in accordance               C,      D,           E, or    IJ F below; or
 B         Payment to begin immediately (may be combined with              C,       [7 D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over aperiod of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

           Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

           Special instructions regarding the payment of criminal monetary penalties:

            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.



 !Inlessthr.cuun haseuprcd orderc.dothenrise, i i t h i ~ j u Jment irnpwes imprisonment, a mentulcriminnlmoneta~penalties is duedurin
 mnpnmnrnent All crtminaf'mone        penaltie\, except ?hose pa)mencs made throu& i e Federal U u r w of Pr~rons'Inmate binmcii
                                                      .
 Responsibility Progrdm, arc made t%e clerk o f t h c.w n .

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



 [7 Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 [7 The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pq Fen!s shall he applied in,thc fol!uw,ing order: (I(psse~mr.nt.(2) reyitutinn principal, (3) restiiution intercst. (4) tine princ~pnl,
 ( 5 ) tlnc mterest, ( 6 )sommumty restltutlon, (7) pena tles, and (8) costs, includmg cost of prosscut~onand court costs.
